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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
UNITED STATES OF AMERICA,
                           Government,
                                                                            20 CR. 644 (RMB)
        -against-
                                                                            ORDER
ALEXANDER GIL,
                           Defendant.
-------------------------------------------------------------X

        The status conference scheduled for Thursday, February 4, 2021 at 9:00 AM will be held
telephonically.

        Participants, members of the public and the press can use the following dial-in
information:


        USA Toll-Free Number: (877) 336-1829
        Access Code: 6265989
        Security Code: 0644


Dated: January 28, 2021
       New York, NY




                                                                __________________________________
                                                                      RICHARD M. BERMAN
                                                                            U.S.D.J.
